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           In the United States Court of Federal Claims
                                          No. 17-1174T

                                   (Filed: May 1, 2020)
____________________________________
                                          )
ALI TAHA, on behalf of his deceased       )
brother and his brother’s wife ,          )
                                          )
               Plaintiff,                 )
                                          )
       v.                                 )
                                          )
UNITED STATES,                            )
                                          )
               Defendant.                 )
____________________________________)

                                              ORDER

        Pending before the court is plaintiffs’ motion for reconsideration of this court’s decision,
filed April 1, 2020, that plaintiffs’ claim for a tax refund be dismissed for lack of subject-matter
jurisdiction. See Pls.’ Mot. for Recons., ECF No. 95 (seeking reconsideration of Taha v. United
States, ___ Fed. Cl. ___, 2020 WL 1611941 (April 1, 2020)). In their motion, plaintiffs contend
that the court’s decision failed to take account of their 2004 tax refund claim and the court
wrongly focused on tax year 2003.

        The arguments presented by plaintiffs echo those presented in their post-trial briefing and
were considered by the court in its ruling. Plaintiffs’ 2004 tax refund claim was dismissed by
this court in Taha v. United States, 137 Fed. Cl. 462 (2018) and that ruling was affirmed on
appeal in Taha v. United States, 757 Fed. Appx. 947 (Fed. Cir. 2018). Accordingly, plaintiffs’
motion for reconsideration is DENIED.


       It is so ORDERED.

                                                      s/ Charles F. Lettow
                                                      Charles F. Lettow
                                                      Senior Judge
